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 1 Tammy Hussin (Bar No. 155290)
 2 Of Counsel
   Lemberg & Associates LLC
 3 6404 Merlin Dr., Suite #100
 4 Carlsbad, CA 92011
   Telephone (855) 301-2100 ext. 5514
 5 thussin@lemberglaw.com
 6
   Lemberg & Associates LLC
 7 A Connecticut Law Firm
 8 1100 Summer Street
   Stamford, CT 06905
 9 Telephone: (203) 653-2250
10 Facsimile: (203) 653-3424
11 Attorneys for Plaintiff,
12 Corey Kendall
13
                              UNITED STATES DISTRICT COURT
14
                             CENTRAL DISTRICT OF CALIFORNIA
15
                                    WESTERN DIVISION
16
17 Corey Kendall,                               Case No.: 2:12-cv-08674-RGK-AJW
18
                      Plaintiff,                VOLUNTARY WITHDRAWAL
19
20         vs.

21 Diversified Collection Services, Inc.; and
22 DOES 1-10, inclusive,
23                    Defendants.
24
25
26
27
28
     2:12-cv-08674-RGK-AJW                                    VOLUNTARY WITHDRAWAL
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 1               NOTICE OF WITHDRAWAL OF COMPLAINT AND
 2             VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE
                          PURSUANT TO RULE 41(a)
 3
 4
                   Corey Kendall (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
 5
     complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed. R.
 6
     Civ. P. 41(a)(1)(A)(i).
 7
 8
 9                                               By: /s/ Tammy Hussin
10                                               Tammy Hussin Of Counsel
                                                 Lemberg & Associates, LLC
11                                               Attorney for Plaintiff, Corey Kendall
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     2:12-cv-08674-RGK-AJW                                           VOLUNTARY WITHDRAWAL
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 1                                  CERTIFICATE OF SERVICE
 2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On December 4, 2012, I served a true copy of
 5 foregoing document(s): VOLUNTARY WITHDRAWAL.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants Diversified
 8 certify that on December 4, 2012, a copy Collection Services, Inc.
   of the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
            I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27          Executed on December 4, 2012.
28
                                                 3
     2:12-cv-08674-RGK-AJW                                           VOLUNTARY WITHDRAWAL
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 1
 2                                         By: /s/ Tammy Hussin
                                           Tammy Hussin Of Counsel
 3                                         Lemberg & Associates, LLC
 4                                         Attorney for Plaintiff, Corey Kendall

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